Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 1 of 20 Page ID #:640



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  20                            UNITED STATES DISTRICT COURT

  21                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

  22
       POLARIS POWERLED                       Case No. 8:18-cv-01571-JVS (DFMx)
  23   TECHNOLOGIES, LLC,
  24               Plaintiff,                 STIPULATED PROTECTIVE
                                              ORDER
  25
                   v.
  26
       VIZIO, INC.,
  27
                   Defendant.
  28

                                                           STIP. PROTECTIVE ORDER
                                                     Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 2 of 20 Page ID #:641



   1   1.    PURPOSES AND LIMITATIONS
   2         Disclosure and discovery activity in this action are likely to involve
   3   production of confidential, proprietary, or private information for which special
   4   protection from public disclosure and from use for any purpose other than
   5   prosecuting this litigation may be warranted. This Order does not confer blanket
   6   protections on all disclosures or responses to discovery and the protection it affords
   7   from public disclosure and use extends only to the limited information or items that
   8   are entitled to confidential treatment under the applicable legal principles.
   9   2.    DEFINITIONS
  10         2.1    Challenging Party: a Party or Non-Party that challenges the
  11   designation of information or items under this Order.
  12         2.3    Counsel: Outside Counsel of Record (as well as their support staff).
  13         2.4    Designating Party: a Party or Non-Party that designates information or
  14   items that it produces in disclosures or in responses to discovery as “HIGHLY
  15   CONFIDENTIAL – ATTORNEYS' EYES ONLY,” or “HIGHLY
  16   CONFIDENTIAL – SOURCE CODE.”
  17         2.5    Disclosure or Discovery Material: all items or information, regardless
  18   of the medium or manner in which it is generated, stored, or maintained (including,
  19   among other things, testimony, transcripts, and tangible things), that are produced
  20   or generated in disclosures or responses to discovery in this matter.
  21         2.6    Expert: a person with specialized knowledge or experience in a matter
  22   pertinent to the litigation who (1) has been retained by a Party or its counsel to
  23   serve as an expert witness or as a consultant in this action, (2) is not a past or
  24   current employee of a Party, and (3) at the time of retention, is not anticipated to
  25   become an employee of a Party.
  26         2.7    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  27   Information or Items: extremely sensitive “Confidential Information or Items,”
  28   disclosure of which to another Party or Non-Party would create a substantial risk of

                                                                   STIP. PROTECTIVE ORDER
                                                 -2-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 3 of 20 Page ID #:642



   1   serious harm that could not be avoided by less restrictive means. For clarity this
   2   designation shall include, at least, a Designating Party’s (1) non-public financial
   3   information, (2) employee’s non-public personal information, and (3) non-public
   4   commercial agreements, including license agreements.
   5         2.8    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or
   6   Items: extremely sensitive “Confidential Information or Items” representing
   7   computer code and associated comments and revision histories, formulas,
   8   engineering specifications, or schematics that define or otherwise describe in detail
   9   the algorithms or structure of software or hardware designs, disclosure of which to
  10   another Party or Non-Party would create a substantial risk of serious harm that
  11   could not be avoided by less restrictive means.
  12         2.9    Non-Party: any natural person, partnership, corporation, association, or
  13   other legal entity not named as a Party to this action.
  14         2.10 Outside Counsel of Record: attorneys who are not employees of a
  15   party to this action but are retained to represent or advise a party to this action and
  16   have appeared in this action on behalf of that party or are affiliated with a law firm
  17   which has appeared on behalf of that party.
  18         2.11 Party: any party to this action, including all of its officers, directors,
  19   employees, consultants, retained experts, and Outside Counsel of Record (and their
  20   support staffs).
  21         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  22   Discovery Material in this action.
  23         2.13 Professional Vendors: persons or entities that provide litigation
  24   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
  25   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  26   and their employees and subcontractors.
  27         2.14 Protected Material: any Disclosure or Discovery Material that is
  28   designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

                                                                   STIP. PROTECTIVE ORDER
                                                 -3-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 4 of 20 Page ID #:643



   1   “HIGHLY CONFIDENTIAL – SOURCE CODE.”
   2         2.15 Receiving Party: a Party that receives Disclosure or Discovery
   3   Material from a Producing Party.
   4   3.    SCOPE
   5         The protections conferred by this Order cover not only Protected Material (as
   6   defined above), but also (1) any information copied or extracted from Protected
   7   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
   8   and (3) any testimony, conversations, or presentations by Parties or their Counsel
   9   that might reveal Protected Material. However, the protections conferred by this
  10   Order do not cover the following information: (a) any information that is in the
  11   public domain at the time of disclosure to a Receiving Party or becomes part of the
  12   public domain after its disclosure to a Receiving Party as a result of publication not
  13   involving a violation of this Order, including becoming part of the public record
  14   through trial or otherwise; and (b) any information known to the Receiving Party
  15   prior to the disclosure or obtained by the Receiving Party after the disclosure from a
  16   source who obtained the information lawfully and under no obligation of
  17   confidentiality to the Designating Party. Any use of Protected Material at trial shall
  18   be governed by a separate agreement or order.
  19   4.    DURATION
  20         Even after final disposition of this litigation, the confidentiality obligations
  21   imposed by this Order shall remain in effect until a Designating Party agrees
  22   otherwise in writing or a court order otherwise directs. Final disposition shall be
  23   deemed to be the later of (1) dismissal of all claims and defenses in this action, with
  24   or without prejudice; and (2) final judgment herein after the completion and
  25   exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
  26   including the time limits for filing any motions or applications for extension of time
  27   pursuant to applicable law.
  28   ///

                                                                  STIP. PROTECTIVE ORDER
                                                -4-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 5 of 20 Page ID #:644



   1   5.    DESIGNATING PROTECTED MATERIAL
   2         5.1    Exercise of Restraint and Care in Designating Material for Protection.
   3   Each Party or Non-Party that designates information or items for protection under
   4   this Order must take care to limit any such designation to specific material that
   5   qualifies under the appropriate standards. To the extent it is practical to do so, the
   6   Designating Party must designate for protection only those parts of material,
   7   documents, items, or oral or written communications that qualify – so that other
   8   portions of the material, documents, items, or communications for which protection
   9   is not warranted are not swept unjustifiably within the ambit of this Order.
  10         Mass, indiscriminate, or routinized designations are prohibited. Designations
  11   that are shown to be clearly unjustified or that have been made for an improper
  12   purpose (e.g., to unnecessarily encumber or retard the case development process or
  13   to impose unnecessary expenses and burdens on other parties) expose the
  14   Designating Party to sanctions.
  15         If it comes to a Designating Party’s attention that information or items that it
  16   designated for protection do not qualify for protection at all or do not qualify for the
  17   level of protection initially asserted, that Designating Party must promptly notify all
  18   other Parties that it is withdrawing the mistaken designation.
  19         5.2    Manner and Timing of Designations. Except as otherwise provided in
  20   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  21   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  22   under this Order must be clearly so designated before the material is disclosed or
  23   produced.
  24         Designation in conformity with this Order requires:
  25         (a) for information in documentary form (e.g., paper or electronic documents,
  26   transcripts of depositions or other pretrial or trial proceedings), that the Producing
  27   Party affix the legend “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  28   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that

                                                                   STIP. PROTECTIVE ORDER
                                                 -5-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 6 of 20 Page ID #:645



   1   contains protected material. If only a portion or portions of the material on a page
   2   qualifies for protection, the Producing Party also must clearly identify the protected
   3   portion(s) (e.g., by making appropriate markings in the margins) and must specify,
   4   for each portion, the level of protection being asserted.
   5         A Party or Non-Party that makes original documents or materials available
   6   for inspection need not designate them for protection until after the inspecting Party
   7   has indicated which material it would like copied and produced. During the
   8   inspection and before the designation, all of the material made available for
   9   inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  10   ONLY.” After the inspecting Party has identified the documents it wants copied
  11   and produced, the Producing Party must determine which documents, or portions
  12   thereof, qualify for protection under this Order. Then, before producing the
  13   specified documents, the Producing Party must affix the appropriate legend
  14   (“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
  15   CONFIDENTIAL – SOURCE CODE”) to each page that contains Protected
  16   Material. If only a portion or portions of the material on a page qualifies for
  17   protection, the Producing Party also must clearly identify the protected portion(s)
  18   (e.g., by making appropriate markings in the margins) and must specify, for each
  19   portion, the level of protection being asserted.
  20         (b) for testimony given in deposition or in other pretrial or trial proceedings,
  21   that the Designating Party identify on the record, before the close of the deposition,
  22   hearing, or other proceeding, all protected testimony and specify the level of
  23   protection being asserted. When it is impractical to identify separately each portion
  24   of testimony that is entitled to protection and it appears that substantial portions of
  25   the testimony may qualify for protection, the Designating Party may invoke on the
  26   record (before the deposition, hearing, or other proceeding is concluded) a right to
  27   have up to 21 days to identify the specific portions of the testimony as to which
  28   protection is sought and to specify the level of protection being asserted. Only those

                                                                   STIP. PROTECTIVE ORDER
                                                 -6-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 7 of 20 Page ID #:646



   1   portions of the testimony that are appropriately designated for protection within the
   2   21 days shall be covered by the provisions of this Protective Order. Alternatively, a
   3   Designating Party may specify, at the deposition or up to 21 days afterwards if that
   4   period is properly invoked, that the entire transcript shall be treated as “HIGHLY
   5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
   6         Parties shall give the other parties notice if they reasonably expect a
   7   deposition, hearing, or other proceeding to include Protected Material so that the
   8   other parties can ensure that only authorized individuals who have signed the
   9   “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present at those
  10   proceedings. The use of a document as an exhibit at a deposition shall not in any
  11   way affect its designation as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  12   ONLY.”
  13         Transcripts containing Protected Material shall have an obvious legend on
  14   the title page that the transcript contains Protected Material, and the title page shall
  15   be followed by a list of all pages (including line numbers as appropriate) that have
  16   been designated as Protected Material and the level of protection being asserted by
  17   the Designating Party. The Designating Party shall inform the court reporter of
  18   these requirements. Any transcript that is prepared before the expiration of a 21-day
  19   period for designation shall be treated during that period as if it had been designated
  20   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless
  21   otherwise agreed. After the expiration of that period, the transcript shall be treated
  22   only as actually designated.
  23         (c) for information produced in some form other than documentary and for
  24   any other tangible items, that the Producing Party affix in a prominent place on the
  25   exterior of the container or containers in which the information or item is stored the
  26   legend “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
  27   “HIGHLY CONFIDENTIAL – SOURCE CODE.” If only a portion or portions of
  28   the information or item warrant protection, the Producing Party, to the extent

                                                                   STIP. PROTECTIVE ORDER
                                                 -7-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 8 of 20 Page ID #:647



   1   practicable, shall identify the protected portion(s) and specify the level of protection
   2   being asserted.
   3         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
   4   failure to designate qualified information or items does not, standing alone, waive
   5   the Designating Party’s right to secure protection under this Order for such
   6   material. Upon timely correction of a designation, the Receiving Party must make
   7   reasonable efforts to assure that the material is treated in accordance with the
   8   provisions of this Order.
   9   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  10         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
  11   designation of confidentiality at any time. Unless a prompt challenge to a
  12   Designating Party’s confidentiality designation is necessary to avoid foreseeable,
  13   substantial unfairness, unnecessary economic burdens, or a significant disruption or
  14   delay of the litigation, a Party does not waive its right to challenge a confidentiality
  15   designation by electing not to mount a challenge promptly after the original
  16   designation is disclosed.
  17         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
  18   resolution process by providing written notice of each designation it is challenging
  19   and describing the basis for each challenge. To avoid ambiguity as to whether a
  20   challenge has been made, the written notice must recite that the challenge to
  21   confidentiality is being made in accordance with this specific paragraph of the
  22   Protective Order. The parties shall attempt to resolve each challenge in good faith
  23   and must begin the process by conferring directly (in voice to voice dialogue; other
  24   forms of communication are not sufficient) within 14 days of the date of service of
  25   notice. In conferring, the Challenging Party must explain the basis for its belief that
  26   the confidentiality designation was not proper and must give the Designating Party
  27   an opportunity to review the designated material, to reconsider the circumstances,
  28   and, if no change in designation is offered, to explain the basis for the chosen

                                                                   STIP. PROTECTIVE ORDER
                                                 -8-         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 9 of 20 Page ID #:648



   1   designation. A Challenging Party may proceed to the next stage of the challenge
   2   process only if it has engaged in this meet and confer process first or establishes
   3   that the Designating Party is unwilling to participate in the meet and confer process
   4   in a timely manner.
   5         6.3    Judicial Intervention. If the Parties cannot resolve a challenge without
   6   court intervention, the Challenging Party may file a motion challenging a
   7   confidentiality designation within 14 days of the parties agreeing that the meet and
   8   confer process will not resolve their dispute, if there is good cause for doing so,
   9   including a challenge to the designation of a deposition transcript or any portions
  10   thereof. Any motion brought pursuant to this provision must be accompanied by a
  11   competent declaration affirming that the movant has complied with the meet and
  12   confer requirements imposed by the preceding paragraph.
  13         The burden of persuasion in any such challenge proceeding shall be on the
  14   Designating Party. Frivolous challenges and those made for an improper purpose
  15   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  16   expose the Challenging Party to sanctions. All parties shall continue to afford the
  17   material in question the level of protection to which it is entitled under the
  18   Producing Party’s designation until the court rules on the challenge.
  19   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  20         7.1    Basic Principles. A Receiving Party may use Protected Material that is
  21   disclosed or produced by another Party or by a Non-Party in connection with this
  22   case only for prosecuting, defending, or attempting to settle this litigation. Such
  23   Protected Material may be disclosed only to the categories of persons and under the
  24   conditions described in this Order. When the litigation has been terminated, a
  25   Receiving Party must comply with the provisions of section 15 below (FINAL
  26   DISPOSITION).
  27         Protected Material must be stored and maintained by a Receiving Party at a
  28   location and in a secure manner that ensures that access is limited to the persons

                                                                  STIP. PROTECTIVE ORDER
                                                 -9-        Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 10 of 20 Page ID #:649



    1   authorized under this Order.
    2         7.2.     Intentionally blank.
    3         7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    4   ONLY” and “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or
    5   Items. Unless otherwise ordered by the court or permitted in writing by the
    6   Designating Party, a Receiving Party may disclose any information or item
    7   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
    8   “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:
    9               (a) the Receiving Party’s Outside Counsel of Record in this action, as well
   10   as employees of said Outside Counsel of Record to whom it is reasonably necessary
   11   to disclose the information for this litigation and who have signed the
   12   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
   13   A;
   14               (b) Experts of the Receiving Party (1) to whom disclosure is reasonably
   15   necessary for this litigation, (2) who have signed the “Acknowledgment and
   16   Agreement to Be Bound” (Exhibit A), and (3) as to whom the procedures set forth
   17   in paragraph 7.4(a)(2), below, have been followed;
   18               (c) the court and its personnel;
   19               (d) court reporters and their staff, professional jury or trial consultants,
   20   and Professional Vendors to whom disclosure is reasonably necessary for this
   21   litigation and who have signed the “Acknowledgment and Agreement to Be
   22   Bound” (Exhibit A); and
   23               (e) the author or recipient of a document containing the information or a
   24   custodian or other person who otherwise possessed or knew the information.
   25               (f) during their depositions, witnesses in the action to whom disclosure is
   26   reasonably necessary and who have signed the “Acknowledgment and Agreement
   27   to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
   28   ordered by the court. Pages of transcribed deposition testimony or exhibits to

                                                                      STIP. PROTECTIVE ORDER
                                                    - 10 -      Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 11 of 20 Page ID #:650



    1   depositions that reveal Protected Material must be separately bound by the court
    2   reporter and may not be disclosed to anyone except as permitted under this
    3   Protective Order.
    4         7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY
    5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
    6   CONFIDENTIAL – SOURCE CODE” Information or Items to Experts.
    7             (a) Unless otherwise ordered by the court or agreed to in writing by the
    8   Designating Party, a Party that seeks to disclose to an Expert (as defined in this
    9   Order) any information or item that has been designated “HIGHLY
   10   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
   11   CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must
   12   make a written request to the Designating Party that (1) requesting permission to
   13   disclose to the Expert “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   14   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” information, (2) sets
   15   forth the full name of the Expert and the city and state of his or her primary
   16   residence, (3) attaches a copy of the Expert’s current resume, (4) identifies the
   17   Expert’s current employer(s), (5) identifies each person or entity from whom the
   18   Expert has received compensation or funding for work in his or her areas of
   19   expertise or to whom the expert has provided professional services, including in
   20   connection with a litigation, at any time during the preceding five years,1 and (6)
   21   identifies (by name and number of the case, filing date, and location of court) any
   22   litigation in connection with which the Expert has offered expert testimony,
   23   including through a declaration, report, or testimony at a deposition or trial, during
   24

   25   1
         If the Expert believes any of this information is subject to a confidentiality
   26   obligation to a third-party, then the Expert should provide whatever information the
        Expert believes can be disclosed without violating any confidentiality agreements,
   27   and the Party seeking to disclose to the Expert shall be available to meet and confer
   28   with the Designating Party regarding any such engagement.

                                                                   STIP. PROTECTIVE ORDER
                                                - 11 -       Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 12 of 20 Page ID #:651



    1   the preceding five years.
    2             (b) A Party that makes a request and provides the information specified in
    3   the preceding respective paragraphs may disclose the subject Protected Material to
    4   the identified Expert unless, within 7 days of delivering the request, the Party
    5   receives a written objection from the Designating Party. Any such objection must
    6   set forth in detail the grounds on which it is based.
    7             (c) A Party that receives a timely written objection must meet and confer
    8   with the Designating Party (through direct voice to voice dialogue) to try to resolve
    9   the matter by agreement within five days of the written objection. If no agreement
   10   is reached, the Party seeking to make the disclosure to the Expert may file a motion
   11   seeking permission from the court to do so. Any such motion must describe the
   12   circumstances with specificity, set forth in detail the reasons why disclosure to the
   13   Expert is reasonably necessary, assess the risk of harm that the disclosure would
   14   entail, and suggest any additional means that could be used to reduce that risk. In
   15   addition, any such motion must be accompanied by a competent declaration
   16   describing the parties’ efforts to resolve the matter by agreement (i.e., the extent
   17   and the content of the meet and confer discussions) and setting forth the reasons
   18   advanced by the Designating Party for its refusal to approve the disclosure.
   19             In any such proceeding, the Party opposing disclosure to the Expert shall
   20   bear the burden of proving that the risk of harm that the disclosure would entail
   21   (under the safeguards proposed) outweighs the Receiving Party’s need to disclose
   22   the Protected Material to its Expert.
   23   8.    PROSECUTION BAR
   24                Absent written consent from the Producing Party, any individual who
   25   receives access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
   26   or “HIGHLY CONFIDENTIAL – SOURCE CODE” information shall not be
   27   involved in the prosecution of patents or patent applications relating to the subject
   28   matter of this action, including without limitation the patents asserted in this action

                                                                      STIP. PROTECTIVE ORDER
                                                 - 12 -         Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 13 of 20 Page ID #:652



    1   and any patent or application claiming priority to or otherwise related to the patents
    2   asserted in this action, before any foreign or domestic agency, including the United
    3   States Patent and Trademark Office (“the Patent Office”). For purposes of this
    4   paragraph, “prosecution” includes directly or indirectly drafting, amending,
    5   advising, or otherwise affecting the scope or maintenance of patent claims. To
    6   avoid any doubt, “prosecution” as used in this paragraph does not include
    7   representing a party in which a patent is challenged before a domestic or foreign
    8   agency (including, but not limited to, a reissue protest, ex parte reexamination or
    9   inter partes reexamination). This Prosecution Bar shall begin when access to
   10   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
   11   CONFIDENTIAL – SOURCE CODE” information is first received by the affected
   12   individual and shall end two (2) years after final termination of this action.
   13   9.    SOURCE CODE
   14             (a) To the extent production of source code becomes necessary in this
   15   case, a Producing Party may designate source code as “HIGHLY CONFIDENTIAL
   16   – SOURCE CODE” if it comprises or includes confidential, proprietary or trade
   17   secret source code.
   18             (b) Protected Material designated as “HIGHLY CONFIDENTIAL –
   19   SOURCE CODE” shall be subject to all of the protections afforded to “HIGHLY
   20   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information, including the
   21   Prosecution Bar set forth in Paragraph 8, and may be disclosed only to the
   22   individuals to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   23   ONLY” information may be disclosed, as set forth in Paragraphs 7.3 and 7.4.
   24             (c) Any source code produced in discovery shall be made available for
   25   inspection, in a format allowing it to be reasonably reviewed and searched, during
   26   normal business hours or at other mutually agreeable times. Polaris has requested
   27   that VIZIO make source code available for inspection at Quinn Emanuel Urquhart
   28   & Sullivan’s San Francisco office. VIZIO does not agree to that location and has

                                                                   STIP. PROTECTIVE ORDER
                                                 - 13 -      Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 14 of 20 Page ID #:653



    1   agreed to make source code available in Quinn Emanuel Urquhart & Sullivan’s Los
    2   Angeles office. The parties dispute the location where source code will be made
    3   available by VIZIO and may present that dispute to the Court for resolution. The
    4   source code shall be made available for inspection on a secured computer in a
    5   secured room without Internet access or network access to other computers, and the
    6   Receiving Party shall not copy, remove, or otherwise transfer any portion of the
    7   source code onto any recordable media or recordable device. The Producing Party
    8   may visually monitor the activities of the Receiving Party’s representatives during
    9   any source code review, but only to ensure that there is no unauthorized recording,
   10   copying, or transmission of the source code.
   11             (d) The Receiving Party may request paper copies of limited portions of
   12   source code that are reasonably necessary for the preparation of court filings,
   13   pleadings, expert reports, or other papers, or for deposition or trial, but shall not
   14   request paper copies for the purpose of reviewing the source code other than
   15   electronically as set forth in paragraph (c) in the first instance. The Producing Party
   16   shall provide all such source code in paper form within 48 hours, including bates
   17   numbers and the label “HIGHLY CONFIDENTIAL – SOURCE CODE.” The
   18   Producing Party may challenge the amount of source code requested in hard copy
   19   form pursuant to the dispute resolution procedure and timeframes set forth in
   20   Paragraph 6 whereby the Producing Party is the “Challenging Party” and the
   21   Receiving Party is the “Designating Party” for purposes of dispute resolution.
   22             (e) The Receiving Party shall maintain a record of any individual who has
   23   inspected any portion of the source code in electronic or paper form. The Receiving
   24   Party shall maintain all paper copies of any printed portions of the source code in a
   25   secured, locked area. The Receiving Party shall not create any electronic or other
   26   images of the paper copies and shall not convert any of the information contained in
   27   the paper copies into any electronic format. The Receiving Party shall only make
   28   additional paper copies if such additional copies are (1) necessary to prepare court

                                                                    STIP. PROTECTIVE ORDER
                                                  - 14 -      Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 15 of 20 Page ID #:654



    1   filings, pleadings, or other papers (including a testifying expert’s expert report), (2)
    2   necessary for deposition, or (3) otherwise necessary for the preparation of its case.
    3   Any paper copies used during a deposition shall be retrieved by the Producing Party
    4   at the end of each day and must not be given to or left with a court reporter or any
    5   other unauthorized individual.
    6   10.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
              IN OTHER LITIGATION
    7

    8         If a Party is served with a subpoena or a court order issued in other litigation
    9   that compels disclosure of any information or items designated in this action as
   10   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
   11   CONFIDENTIAL – SOURCE CODE,” that Party must:
   12             (a) promptly notify in writing the Designating Party. Such notification
   13   shall include a copy of the subpoena or court order;
   14             (b) promptly notify in writing the party who caused the subpoena or order
   15   to issue in the other litigation that some or all of the material covered by the
   16   subpoena or order is subject to this Protective Order. Such notification shall include
   17   a copy of this Protective Order; and
   18             (c) cooperate with respect to all reasonable procedures sought to be
   19   pursued by the Designating Party whose Protected Material may be affected.2
   20         If the Designating Party timely seeks a protective order, the Party served with
   21   the subpoena or court order shall not produce any information designated in this
   22   action as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
   23   “HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the
   24

   25
        2
   26    The purpose of imposing these duties is to alert the interested parties to the
        existence of this Protective Order and to afford the Designating Party in this case an
   27   opportunity to try to protect its confidentiality interests in the court from which the
   28   subpoena or order issued.

                                                                    STIP. PROTECTIVE ORDER
                                                 - 15 -       Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 16 of 20 Page ID #:655



    1   court from which the subpoena or order issued, unless the Party has obtained the
    2   Designating Party’s permission. The Designating Party shall bear the burden and
    3   expense of seeking protection in that court of its confidential material – and nothing
    4   in these provisions should be construed as authorizing or encouraging a Receiving
    5   Party in this action to disobey a lawful directive from another court.
    6   11.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
              PRODUCED IN THIS LITIGATION
    7

    8             (a) The terms of this Order are applicable to information produced by a
    9   Non-Party in this action and designated as “HIGHLY CONFIDENTIAL –
   10   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE
   11   CODE.” Such information produced by Non-Parties in connection with this
   12   litigation is protected by the remedies and relief provided by this Order. Nothing in
   13   these provisions should be construed as prohibiting a Non-Party from seeking
   14   additional protections.
   15             (b) In the event that a Party is required, by a valid discovery request, to
   16   produce a Non-Party’s confidential information in its possession, and the Party is
   17   subject to an agreement with the Non-Party not to produce the Non-Party’s
   18   confidential information, then the Party shall:
   19                1.     promptly notify in writing the Requesting Party and the Non-
   20   Party that some or all of the information requested is subject to a confidentiality
   21   agreement with a Non-Party;
   22                2.     promptly provide the Non-Party with a copy of the Protective
   23   Order in this litigation, the relevant discovery request(s), and a reasonably specific
   24   description of the information requested; and
   25                3.     make the information requested available for inspection by the
   26   Non-Party.
   27             (c) If the Non-Party fails to object or seek a protective order from this
   28

                                                                    STIP. PROTECTIVE ORDER
                                                 - 16 -       Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 17 of 20 Page ID #:656



    1   court within 14 days of receiving the notice and accompanying information, the
    2   Receiving Party may produce the Non-Party’s confidential information responsive
    3   to the discovery request. If the Non-Party timely seeks a protective order, the
    4   Receiving Party shall not produce any information in its possession or control that
    5   is subject to the confidentiality agreement with the Non-Party before a
    6   determination by the court.3 Absent a court order to the contrary, the Non-Party
    7   shall bear the burden and expense of seeking protection in this court of its Protected
    8   Material.
    9   12.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   10         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   11   Protected Material to any person or in any circumstance not authorized under this
   12   Protective Order, the Receiving Party must immediately (a) notify in writing the
   13   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
   14   all unauthorized copies of the Protected Material, (c) inform the person or persons
   15   to whom unauthorized disclosures were made of all the terms of this Order, and (d)
   16   request such person or persons to execute the “Acknowledgment and Agreement to
   17   Be Bound” that is attached hereto as Exhibit A.
   18   13.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
              PROTECTED MATERIAL
   19

   20         When a Producing Party gives notice to Receiving Parties that certain
   21   inadvertently produced material is subject to a claim of privilege or other
   22   protection, the obligations of the Receiving Parties are those set forth in Federal
   23   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   24   whatever procedure may be established in an e-discovery order that provides for
   25

   26
        3
         The purpose of this provision is to alert the interested parties to the existence of
   27   confidentiality rights of a Non-Party and to afford the Non-Party an opportunity to
   28   protect its confidentiality interests in this court.

                                                                   STIP. PROTECTIVE ORDER
                                                 - 17 -      Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 18 of 20 Page ID #:657



    1   production without prior privilege review. Pursuant to Federal Rule of Evidence
    2   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
    3   of a communication or information covered by the attorney-client privilege or work
    4   product protection, the parties may incorporate their agreement in a stipulated
    5   protective order submitted to the court.
    6   14.   MISCELLANEOUS
    7         14.1 Right to Further Relief. Nothing in this Order abridges the right of any
    8   person to seek its modification by the court in the future.
    9         14.2 Right to Assert Other Objections. No Party waives any right it
   10   otherwise would have to object to disclosing or producing any information or item
   11   on any ground not addressed in this Protective Order. Similarly, no Party waives
   12   any right to object on any ground to use in evidence of any of the material covered
   13   by this Protective Order.
   14         14.3 Export Control. Disclosure of Protected Material shall be subject to all
   15   applicable laws and regulations relating to the export of technical data contained in
   16   such Protected Material, including the release of such technical data to foreign
   17   persons or nationals in the United States or elsewhere. The Producing Party shall be
   18   responsible for identifying any such controlled technical data, and the Receiving
   19   Party shall take measures necessary to ensure compliance.
   20         14.4 Filing Protected Material. Without written permission from the
   21   Designating Party or a court order secured after appropriate notice to all interested
   22   persons, a Party may not file in the public record in this action any Protected
   23   Material.
   24   15.   FINAL DISPOSITION
   25         Within 60 days after the final disposition of this action, as defined in
   26   paragraph 4, each Receiving Party must return all Protected Material to the
   27   Producing Party or destroy such material. As used in this subdivision, “all Protected
   28   Material” includes all copies, abstracts, compilations, summaries, and any other

                                                                   STIP. PROTECTIVE ORDER
                                                   - 18 -    Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 19 of 20 Page ID #:658



    1   format reproducing or capturing any of the Protected Material. Whether the
    2   Protected Material is returned or destroyed, the Receiving Party must submit a
    3   written certification to the Producing Party (and, if not the same person or entity, to
    4   the Designating Party) by the 60 day deadline that (1) identifies (by category, where
    5   appropriate) all the Protected Material that was returned or destroyed and (2)
    6   affirms that the Receiving Party has not retained any copies, abstracts,
    7   compilations, summaries or any other format reproducing or capturing any of the
    8   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
    9   archival copy of all pleadings, motion papers, trial, deposition, and hearing
   10   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   11   reports, attorney work product, and consultant and expert work product, even if
   12   such materials contain Protected Material. Any such archival copies that contain or
   13   constitute Protected Material remain subject to this Protective Order as set forth in
   14   Section 4.
   15         IT IS SO STIPULATED, through Counsel of Record.
   16

   17   Dated: 5/10/2019                           /s/ Robert F. Kramer
   18                                              Robert F. Kramer
                                                   Counsel for Plaintiff
   19

   20
        Dated: 5/10/2019                           /s/ Zachariah Summers
   21                                              Zachariah Summers
   22                                              Counsel for Defendant

   23

   24
        IT IS ORDERED that the forgoing Agreement is approved.

   25

   26
        Dated: May 14, 2019
                                                   Honorable Douglas F. McCormick
   27                                              United States Magistrate Judge
   28

                                                                   STIP. PROTECTIVE ORDER
                                                 - 19 -      Case No. 8:18-cv-01571-JVS (DFMx)
Case 8:18-cv-01571-JVS-DFM Document 56 Filed 05/14/19 Page 20 of 20 Page ID #:659



    1                                         EXHIBIT A
    2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3
                      I, _____________________________ [print or type full name], of
    4
        _________________ [print or type full address], declare under penalty of perjury
    5
        that I have read in its entirety and understand the Protective Order that was issued
    6
        by the United States District Court for the Central District of California on _______
    7
        [date] in the case of Polaris PowerLED Technologies, LLC v. VIZIO, Inc., Case No.
    8
        8:18-cv-01571-JVS (DFMx). I agree to comply with and to be bound by all the
    9
        terms of this Protective Order, and I understand and acknowledge that failure to so
   10
        comply could expose me to sanctions and punishment in the nature of contempt. I
   11
        solemnly promise that I will not disclose in any manner any information or item
   12
        that is subject to this Protective Order to any person or entity except in strict
   13
        compliance with the provisions of this Order.
   14
                      I further agree to submit to the jurisdiction of the United States District
   15
        Court for the Central District of California for the purpose of enforcing the terms of
   16
        this Protective Order, even if such enforcement proceedings occur after termination
   17
        of this action.
   18
                      I hereby appoint __________________________ [print or type full
   19
        name] of _______________________________________ [print or type full
   20
        address and telephone number] as my California agent for service of process in
   21
        connection with this action or any proceedings related to enforcement of this
   22
        Protective Order.
   23

   24
        Date: ________________           Signature: ________________________________
                                                    [signature]
   25

   26                                    Printed name: ______________________________
                                                      [printed name]
   27

   28   City and State where sworn and signed: _________________________________

                                                                    STIP. PROTECTIVE ORDER
                                                 - 20 -       Case No. 8:18-cv-01571-JVS (DFMx)
